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 1                                                                The Honorable Marsha J. Pechman

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                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9
     YOLANY PADILLA, on behalf of herself and her
10   6-year-old son J.A.; IBIS GUZMAN, on behalf of herself            No. 2:18-cv-928 MJP
     and her 5-year-old son R.G.; BLANCA ORANTES, on
11   behalf of herself and her 8-year-old son A.M.; BALTAZAR
12   VASQUEZ, on behalf of himself;                                    JOINT STIPULATION
                                             Plaintiffs-Petitioners,   AND [PROPOSED]
13          v.                                                         ORDER REGARDING
                                                                       EXCHANGE OF INITIAL
14   U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT                          DISCLOSURES AND
     (“ICE”); U.S. DEPARTMENT OF HOMELAND                              SUBMISSION OF 26(f)
15   SECURITY (“DHS”); U.S. CUSTOMS AND BORDER                         REPORT
16   PROTECTION (“CBP”); U.S. CITIZENSHIP AND
     IMMIGRATION SERVICES (“USCIS”); EXECUTIVE
17   OFFICE FOR IMMIGRATION REVIEW (“EOIR”);                           NOTE ON MOTION
     THOMAS HOMAN, Acting Director of ICE; KIRSTJEN                    CALENDAR: OCTOBER
18   NIELSEN, Secretary of DHS; KEVIN K. McALEENAN,                    11, 2018.
     Acting Commissioner of CBP; L. FRANCIS CISSNA,
19   Director of USCIS; MARC J. MOORE, Seattle Field Office
20   Director,     ICE,       JEFFERSON      BEAUREGARD
     SESSIONS III, United States Attorney General; LOWELL
21   CLARK, warden of the Northwest Detention Center in
     Tacoma, Washington; CHARLES INGRAM, warden of the
22   Federal Detention Center in SeaTac, Washington; DAVID
     SHINN, warden of the Federal Correctional Institute in
23   Victorville, California; JAMES JANECKA, warden of the
24   Adelanto Detention Facility;

25                                       Defendants-Respondents.

26

      JOINT STIPULATION AND                                              Northwest Immigrant Rights Project
     [PROPOSED] ORDER                                                            615 Second Ave., Ste. 400
     REGARDING EXCHANGE OF                                                              Seattle, WA 98104
     INITIAL DISCLOSURES AND                                                     Telephone (206) 957-8611
     SUBMISSION OF 26(f)
     REPORT- 1
     CASE NO. 2:18-cv-928 MJP
               Case 2:18-cv-00928-MJP Document 79 Filed 10/11/18 Page 2 of 5



 1           Pursuant to Local Civil Rules 7(d)(1) and 10(g), Plaintiffs and Defendants hereby
 2   stipulate and jointly move the Court for an Order extending the deadline for the exchange of
 3   initial disclosures and the filing of the Fed. R. Civ. P. 26(f) report.
 4           On July 31, 2018, this Court entered an order setting the deadlines or the parties to meet
 5   and confer pursuant to Fed. R. Civ. P. 26(f), and to exchange initial disclosures and file a 26(f)
 6   report. ECF 17. The parties jointly determined that it was prudent to brief the issues in the
 7   motion to dismiss and motion for class certification prior to having a Rule 26(f) conference so
 8   that both parties had a fuller understanding of the issues. Pursuant to the instructions in that
 9   order, the parties jointly telephoned the Courtroom Deputy to request an extension. A thirty-day
10   extension was granted. ECF 32.
11           The parties have met and conferred pursuant to this Court’s order. However, after the
12   conference, the parties agreed that additional time to discuss would be productive, and would
13   lead to the submission of a 26(f) report that would be more useful to the Court. Accordingly, the
14   parties jointly request an additional 30-day extension of the deadline to exchange initial
15   disclosures and submit a Rule 26(f) report to the Court.
16          RESPECTFULLY SUBMITTED this 11th day of October, 2018.
      s/ Matt Adams
17                                             Kristin Macleod-Ball*
      Matt Adams, WSBA No. 28287
18    Email: matt@nwirp.org                    Trina Realmuto*

19    Glenda M. Aldana Madrid, WSBA No. 46987                AMERICAN IMMIGRATION
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      NORTHWEST IMMIGRANT                                    kmacleod-ball@immcouncil.org
23    RIGHTS PROJECT
      615 Second Avenue, Suite 400                           *Admitted pro hac vice
24    Seattle, WA 98104
      Telephone: (206) 957-8611                              Attorneys for Plaintiffs-Petitioners
25
      Facsimile: (206) 587-4025
26    Attorneys for Plaintiffs-Petitioners

      JOINT STIPULATION AND                                                    Northwest Immigrant Rights Project
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     SUBMISSION OF 26(f)
     REPORT- 2
     CASE NO. 2:18-cv-928 MJP
              Case 2:18-cv-00928-MJP Document 79 Filed 10/11/18 Page 3 of 5



 1   JOSEPH. H. HUNT                              /s/ Lauren C. Bingham
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 2   Civil Division                               Trial Attorney, District Court Section
                                                  Office of Immigration Litigation
 3
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      JOINT STIPULATION AND                                   Northwest Immigrant Rights Project
     [PROPOSED] ORDER                                                 615 Second Ave., Ste. 400
     REGARDING EXCHANGE OF                                                   Seattle, WA 98104
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     SUBMISSION OF 26(f)
     REPORT- 3
     CASE NO. 2:18-cv-928 MJP
              Case 2:18-cv-00928-MJP Document 79 Filed 10/11/18 Page 4 of 5



 1                                      [PROPOSED] ORDER

 2          Based on the foregoing stipulation of the parties, IT IS SO ORDERED. The parties shall
 3   exchange initial disclosures by November 5, 2018. The parties shall submit their 26(f) report by
 4   November 12, 2018.
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                          DATED this         day of _________________, 2018.
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 9                                               _____________________________________
10                                               THE HONORABLE MARSHA J. PECHMAN
                                                 UNITED STATES DISTRICT JUDGE
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      JOINT STIPULATION AND                                            Northwest Immigrant Rights Project
     [PROPOSED] ORDER                                                          615 Second Ave., Ste. 400
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     REPORT- 4
     CASE NO. 2:18-cv-928 MJP
              Case 2:18-cv-00928-MJP Document 79 Filed 10/11/18 Page 5 of 5



 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on October 11, 2018, I had the foregoing electronically filed with the
 3
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to those
 4
     attorneys of record registered on the CM/ECF system. All other parties (if any) shall be served
 5
     in accordance with the Federal Rules of Civil Procedure.
 6
 7
 8                                                /s/ Lauren C. Bingham
                                                  LAUREN C. BINGHAM, Fl. Bar #105745
 9                                                Trial Attorney, District Court Section
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                                                  Attorney for Defendants
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     [PROPOSED] ORDER                                                           615 Second Ave., Ste. 400
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     REPORT- 5
     CASE NO. 2:18-cv-928 MJP
